                 Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 1 of 43



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10

11   Attorneys for Plaintiff Columbia Riverkeeper

12
                             IN THE UNITED STATES DISTRICT COURT
13                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
14

15 COLUMBIA RIVERKEEPER,

16
                    Plaintiff,
17                                                          Case No. 3:21-cv-05486
                    v.
18
     PORT OF VANCOUVER U.S.A.,                              COMPLAINT
19
                    Defendant.
20

21
                                         I.      INTRODUCTION
22
            1.       This action is a citizen suit brought under section 505 of the Clean Water Act
23

24   (“CWA”), 33 U.S.C. § 1365, as amended. Plaintiff Columbia Riverkeeper (“Riverkeeper”) seeks

25   declaratory and injunctive relief, the imposition of civil penalties, and the award of costs,

26   including attorneys’ and expert witness fees for Defendant Port of Vancouver U.S.A.’s (“Port”)
27   repeated and ongoing violations of section 301(a) of the CWA, 33 U.S.C. § 1311(a), and of the
28
                                                                             KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 1                                                           1300 S.E. Start Street, Suite 202
     No. 3:21-cv-05486                                                          Portland, Oregon 97214
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                 Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 2 of 43



 1   terms and conditions of the Port’s National Pollutant Discharge Elimination System (“NPDES”)
 2   permits authorizing discharges of pollutants from Port’s facility to waters of the United States.
 3
                                  II.     JURISDICTION AND VENUE
 4
            2.       This Court has subject matter jurisdiction under section 505(a) of the CWA, 33
 5
     U.S.C. § 1365(a) (CWA citizen suit provision), and 28 U.S.C. § 1331 (federal question). Port is
 6

 7   in violation of an “effluent standard or limitation” as defined by section 505(f) of the CWA, 33

 8   U.S.C. § 1365(f). The relief requested herein is authorized by sections 309(d) and 505 of the

 9   CWA, 33 U.S.C. §§ 1319(d) and 1365 and 28 U.S.C. §§ 2201 and 2202.
10          3.       In accordance with section 505(b)(1)(A) of the CWA, 33 U.S.C. § 1365(b)(1)(A),
11
     Riverkeeper notified the Port and its Commissioners of the Port’s violations of the NPDES
12
     permit and of Riverkeeper’s intent to sue under the CWA, by letter dated and postmarked
13
     November 5, 2020 (“Notice Letter”). A copy of the Notice Letter is attached to this complaint as
14

15   Exhibit 1. Riverkeeper also notified the Administrator of the United States Environmental

16   Protection Agency (“EPA”), the Administrator of EPA Region 10, and the Director of

17   Washington Department of Ecology (“Ecology”) by mailing copies of the Notice Letter to those
18
     officials on November 5, 2020.
19
            4.       At the time of the filing of this complaint, more than sixty days have passed since
20
     the Notice Letter and copies thereof were issued in the manner described in the preceding
21
     paragraph.
22

23          5.       The violations complained of in the Notice Letter are continuing and/or

24   reasonably likely to recur. The Port is in violation of section 301(a) of the CWA, 33 U.S.C. §
25   1311(a) and its NPDES permit.
26

27

28
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 1          6.        At the time of the filing of this complaint, neither the EPA nor Ecology has
 2   commenced any action constituting diligent prosecution to redress the violations alleged in the
 3
     Notice Letter.
 4
            7.        The source of the violations complained of is located in Clark County,
 5
     Washington, within the Western District of Washington, and venue is therefore appropriate in
 6

 7   the Western District of Washington under section 505(c)(1) of the CWA, 33 U.S.C. § 1365(c)(1).

 8                                            III.    PARTIES

 9          8.        Plaintiff Columbia Riverkeeper is suing on behalf of itself and its members.
10   Riverkeeper is a 501(c)(3) non-profit corporation registered in the State of Washington. The
11
     mission of Riverkeeper is to restore and protect the water quality of the Columbia River and all
12
     life connected to it, from the headwaters to the Pacific Ocean. To achieve these objectives,
13
     Riverkeeper implements scientific, educational, and legal programs aimed at protecting water
14

15   quality and habitat in the Columbia River Basin. This lawsuit is part of Riverkeeper’s effort to

16   improve water quality in the Columbia River Basin for purposes including recreation, habitat

17   quality, and subsistence, recreational, and commercial fishing.
18
            9.        Riverkeeper has representational standing to bring this action. Riverkeeper has
19
     over 16,000 members, many of whom reside in the vicinity of waters affected by the Port’s
20
     discharges of pollutants. Members of Riverkeeper use and enjoy the waters and the surrounding
21
     areas that are adversely affected by the Port’s discharges. Riverkeeper’s members use these areas
22

23   for, inter alia, fishing, swimming, hiking, walking, photography, boating, and observing wildlife.

24   The Port has consistently violated the conditions of its NPDES permits, exceeded the permits’
25   benchmark pollutant discharge levels, and discharged pollutants to waters of the United States
26
     without an NPDES permit in violation of section 301(a) of the CWA. Riverkeeper has serious
27
     concerns about the impacts of the Port’s operations and pollution discharges on the Columbia
28
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               Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 4 of 43



 1   River. The Port’s operations and pollution discharges degrade water quality in the Columbia
 2   River Basin. The environmental, health, aesthetic, and recreational interests of Riverkeeper’s
 3
     members have been, are being, and will be adversely affected by the Port’s CWA and NPDES
 4
     permit violations addressed herein and by the members’ reasonable concerns related to the
 5
     effects of the violations and pollutant discharges. These injuries are fairly traceable to the
 6

 7   violations and redressable by this Court.

 8          10.     Riverkeeper also has organizational standing to bring this action. Riverkeeper

 9   actively engages in a variety of educational and advocacy efforts to improve water quality in the
10   Columbia River and its tributaries. The Port has failed to fulfill its monitoring, recordkeeping,
11
     reporting, and planning requirements, among others, necessary for compliance with its NPDES
12
     permits. As a result, Riverkeeper is deprived of information that supports its ability to serve its
13
     members by disseminating information and taking appropriate action. Riverkeeper’s efforts to
14

15   educate and advocate for greater environmental protection for the benefit of its members is

16   thereby obstructed. Thus, Riverkeeper’s organizational interests have been adversely affected by

17   the Port’s violations. These injuries are fairly traceable to the Port’s violations and redressable by
18
     this Court.
19
            11.     Defendant Port of Vancouver U.S.A. is a port district formed under and governed
20
     by Washington law, Wash. Rev. Code Title 53.
21
            12.     The Port owns approximately four miles of riverfront property along the
22

23   Columbia River west of downtown Vancouver, Washington, that is depicted in Attachment A to

24   the Notice Letter attached hereto as Exhibit 1 (hereinafter “the Facility”).
25          13.     The Port’s Facility discharges pollutants, including stormwater associated with
26
     industrial activity and the pollutants contained therein, to the Columbia River.
27

28
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               Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 5 of 43



 1                                   IV.     LEGAL BACKGROUND
 2          14.     Section 301(a) of the CWA, 33 U.S.C. § 1311(a), prohibits the discharge of
 3
     pollutants by any person unless authorized under certain provisions of the CWA, including an
 4
     NPDES permit issued pursuant to section 402 of the CWA, 33 U.S.C. § 1342.
 5
            15.     The State of Washington has established a federally approved state NPDES
 6

 7   program administered by Ecology. Wash. Rev. Code § 90.48.260; Wash. Admin. Code ch. 173-

 8   220. This program was approved by the Administrator of the EPA pursuant to section 402(b) of

 9   the CWA, 33 U.S.C. § 1342(b).
10          16.     Ecology has issued several iterations of the Industrial Stormwater General Permit
11
     (“General Permit”) under section 402(a) of the CWA, 33 U.S.C. § 1342(a), the most recent of
12
     which was issued on November 20, 2019, became effective on January 1, 2020, and is set to
13
     expire on December 31, 2024 (the “2020 General Permit”). The previous iteration was issued on
14

15   December 3, 2014, became effective on January 2, 2015, and expired on December 31, 2019 (the

16   “2015 General Permit”). The iteration of the General Permit prior to the 2015 General Permit

17   was issued by Ecology on October 21, 2009, became effective January 1, 2010, was modified on
18
     May 16 and July 1, 2012, and expired on January 1, 2015 (the “2010 General Permit”). The
19
     General Permit, in its various iterations since its first issuance in 1993, all of which contain
20
     comparable requirements, authorizes those that obtain coverage thereunder to discharge
21
     stormwater associated with industrial activity, a pollutant under the CWA, and other pollutants
22

23   contained in the stormwater to waters of the United States subject to certain terms and

24   conditions.
25          17.     The 2015 General Permit and the 2020 General Permit (collectively, “General
26
     Permits”) impose terms and conditions, including discharge monitoring and sampling
27
     requirements, reporting and recordkeeping requirements, and restrictions on the quality of
28
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 1   stormwater discharges. To reduce and eliminate pollutants in stormwater discharges, the General
 2   Permits require, among other things, that permittees develop and implement a Stormwater
 3
     Pollution Prevention Plan (“SWPPP”) that includes appropriate best management practices
 4
     (“BMPs”) and that applies all known and reasonable methods of pollution prevention, control,
 5
     and treatment (“AKART”) to discharges. The specific terms and conditions of the General
 6

 7   Permits are described in detail in sections II–IX of the Notice Letter, attached hereto as Exhibit 1

 8   at 3–18.

 9                                             V.      FACTS
10          18.     The Port was granted coverage for the Facility under the 2010 General Permit and
11
     the 2015 General Permit for the duration of those permits’ effectiveness under NPDES Permit
12
     Number WAR000424. The Port was granted coverage under the 2020 General Permit on its
13
     effective date of January 1, 2020 and maintains the same NPDES Permit Number WAR000424.
14

15          19.     The Port discharges stormwater associated with industrial activity and other

16   pollutants into the Columbia River via stormwater conveyance systems.

17          20.     The Port has violated the terms and conditions of the General Permits. The Port’s
18
     violations of the General Permits are set forth in sections II through VIII of the Notice Letter,
19
     attached hereto as Exhibit 1 at 3–18, and are incorporated herein by this reference except to the
20
     extent the Notice Letter alleges liability under the CWA for violation days before May 8, 2016.
21
     In particular, and among the other violations described in the Notice Letter, the Port has violated
22

23   the General Permits by failing to monitor discharges, develop and implement a SWPPP with

24   adequate BMPs to control stormwater quality, timely complete adaptive management responses,
25   and timely submit complete and accurate reports.
26
            21.     The General Permits require the Port to monitor stormwater discharges in a
27
     manner that is representative of discharges from the Facility. The stormwater monitoring data
28
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              Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 7 of 43



 1   described in Table 1, below, are the stormwater monitoring results that the Port submitted to
 2   Ecology on discharge monitoring reports (“DMRs”) under the requirements of the General
 3
     Permits. The Port has discharged stormwater containing levels of pollutants that exceed the
 4
     benchmark values established by the General Permits, including on the days on which the Port
 5
     collected samples with the results identified in bold in Table 1, below.
 6

 7
                        TABLE 1: DMR Monitoring Data Reported by the Port
 8
                                 Discharge            Total Copper                  Total Zinc
 9       Monitoring            Monitoring Point     Benchmark: 14 µg/L          Benchmark: 117 µg/L
         Period
10
                                       T2                    CA                         CA
         1st Quarter 2015
11                                     T4                    37.9                      86.8
                                       T2                    ND                         ND
         2nd Quarter 2015
12                                     T4                     72                         53
                                       T2                    CA                         CA
13       3rd Quarter 2015
                                       T4                     35                         24
14                                     T2                    CA                         CA
         4th Quarter 2015
                                       T4                    41.4                       CA
15                                     T2                    CA                         CA
         1st Quarter 2016
                                       T4                    40.7                       CA
16
                                       T2                    CA                         CA
         2nd Quarter 2016
17                                     T4                    23.5                       CA
                                       T2                    ND                         ND
         3rd Quarter 2016
18                                     T4                    ND                         ND
                                       T2                    CA                         CA
19       4th Quarter 2016
                                       T4                     21                        CA
20                                     T2                      3                         14
         1st Quarter 2017
                                       T4                     34                        CA
21                                     T2                    15.2                       170
         2nd Quarter 2017
                                       T4                    ND                         ND
22
                                       T2                     11                         42
         3rd Quarter 2017
23                                     T4                     30                         27
                                       T2                    10.7                      100.5
         4th Quarter 2017
24                                     T4                    29.5                        12
                                       T2                     8.1                        78
25       1st Quarter 2018
                                       T4                   19.95                        24
26                                     T2                    ND                         ND
         2nd Quarter 2018
                                       T4                    ND                         ND
27                                     T2                    ND                         ND
         3rd Quarter 2018
                                       T4                    ND                         ND
28
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               Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 8 of 43



 1                                  T2                     12                    85
         4th Quarter 2018
                                    T4                    42.5                   59
 2                                  T2                     4.7                  74.1
        1st Quarter 2019
 3                                  T4                    20.1                   44
                                    T2                    10.3                  290
        2nd Quarter 2019
 4                                  T4                 23.5571                  19.7
                                    T2                     5.5                  62.7
 5      3rd Quarter 2019
                                    T4                   18.95                 13.75
 6                                  T2                    ND                    ND
        4th Quarter 2019
                                    T4                      8                    12
 7                                  T2                     11                   107
        1st Quarter 2020
                                    T4                 13.9333                  36.3
 8                                  T2                    11.1                  220
        2nd Quarter 2020
 9                                  T4                   21.65                 89.55
                                    T2                     20                   348
        3rd Quarter 2020
10                                  T4                     22                    18
                                    T2                     7.6                114.075
11      4th Quarter 2020
                                    T4                  22.225                 30.73
12                                 T2B                    331                   383
        1st Quarter 2021
                                   T2M                     6.9                  106
13                                  T4                    15.8                   28
       Monitoring results shown in Bold exceed the General Permits’ benchmarks
14     “CA”: DMR represented facility was at “consistent attainment”
15     “ND”: DMR represented facility had no discharge during monitoring period

16          22.     The Port’s exceedances of the benchmark values indicate that Port is failing to

17   apply AKART to its discharges and/or is failing to implement an adequate SWPPP and BMPs.
18   Upon information and belief, the Port is in violation of the General Permits by not developing
19
     and/or implementing a SWPPP that includes appropriate BMPs in accordance with the
20
     requirements of the General Permits, by not applying AKART to discharges, by not
21
     implementing BMPs necessary to prevent discharges from contributing to violations of water
22

23   quality standards in the receiving waters, and by discharging in a manner that contributes to

24   violations of water quality standards. These requirements, and the Port’s violations thereof, are

25   described in detail in sections II and III of the Notice Letter, attached hereto as Exhibit 1 at 3–8,
26
     and are incorporated herein by this reference except to the extent the Notice Letter alleges
27
     liability under the CWA for violation days before May 8, 2016
28
                                                                              KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 8                                                            1300 S.E. Start Street, Suite 202
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               Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 9 of 43



 1          23.     The Port has violated the discharge monitoring requirements of the General
 2   Permits. The Port has failed to collect, analyze, and report discharge samples during each
 3
     calendar quarter as required by the General Permits. The Port failed to collect stormwater
 4
     samples at any of its discharge points during the following quarterly monitoring periods: the
 5
     third quarter of 2016 and the second and third quarters of 2018. The Port further violated these
 6

 7   requirements by failing to collect stormwater discharges from its T4 monitoring point during the

 8   second quarter of 2017 and from its T2 monitoring point during the fourth quarter of 2019. The

 9   Port has also violated the General Permits’ monitoring requirements failing to collect, analyze,
10   and report discharge samples from discharge points that are not substantially identical to those
11
     points that the Port monitors. These requirements of the General Permits, and the Port’s
12
     violations thereof, are described in detail in section IV.A of the Notice Letter, attached hereto as
13
     Exhibit 1 at 8–9, and are incorporated herein by this reference except to the extent the Notice
14

15   Letter alleges liability under the CWA for violation days before May 8, 2016.

16          24.     The Port has further violated the General Permits’ monitoring requirements by

17   failing to analyze quarterly samples in the manner required, including by failing to analyze
18
     discharge samples for the parameters as identified in Table 2 below, which includes instances
19
     where the Port improperly claimed analysis was not required under the General Permits’
20
     consistent attainment provisions.
21

22
                             TABLE 2: Pollutant Parameters Not Analyzed
23
            Monitoring         Monitoring Point                 Parameters Not Analyzed
24           Period
                                         T2          Turbidity, pH, Oil Sheen, Total Copper, Total
25
        Third Quarter 2016                           Zinc, Petroleum Hydrocarbons
26                                       T4          Turbidity, pH, Oil Sheen, Total Copper, Total
                                                     Zinc, Petroleum Hydrocarbons
27        Fourth Quarter                 T2          Turbidity, pH, Total Copper, Total Zinc
              2016                       T4          Turbidity, pH, Total Zinc
28
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 1      First Quarter 2017             T4            Turbidity, pH, Total Zinc
         Second Quarter                T4            Turbidity, pH, Oil Sheen, Total Copper, Total
 2             2017                                  Zinc, Petroleum Hydrocarbons
 3                                     T2            Turbidity, pH, Oil Sheen, Total Copper, Total
          Second Quarter                             Zinc, Petroleum Hydrocarbons
 4            2018                     T4            Turbidity, pH, Oil Sheen, Total Copper, Total
                                                     Zinc, Petroleum Hydrocarbons
 5                                     T2            Turbidity, pH, Oil Sheen, Total Copper, Total
        Third Quarter 2018                           Zinc, Petroleum Hydrocarbons
 6
                                       T4            Turbidity, pH, Oil Sheen, Total Copper, Total
 7                                                   Zinc, Petroleum Hydrocarbons
          Fourth Quarter               T2            Turbidity, pH, Oil Sheen, Total Copper, Total
 8            2019                                   Zinc, Petroleum Hydrocarbons
 9

10   These requirements, and the Port’s violations thereof, are described in section IV.B of the Notice

11   Letter, attached hereto as Exhibit 1 at 9–10, and are incorporated herein by this reference except

12   to the extent the Notice Letter alleges liability under the CWA for violation days before May 8,
13
     2016.
14
             25.    The Port has violated the visual monitoring requirements of the General Permits.
15
     For example, upon information and belief, the Port has failed to conduct visual monitoring at
16
     each location where stormwater associated with industrial activity is discharged and the Port has
17

18   failed to prepare visual monitoring reports/checklists that include all required information,

19   including identification of all locations inspected. These requirements, and the Port’s violations
20   thereof, are described in section IV.C of the Notice Letter, attached hereto as Exhibit 1 at 10, and
21
     are incorporated herein by this reference except to the extent the Notice Letter alleges liability
22
     under the CWA for violation days before May 8, 2016.
23
             26.    The Port has violated the General Permit’s prohibition on illicit discharges.
24

25   Operations at the Facility include the loading of bulk commodities, including copper ore, urea,

26   and grain, to vessels docked at the Facility, the unloading of these materials from vessels to

27   upland portions of the Facility, and the cleaning of structures and equipment used in loading and
28
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              Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 11 of 43



 1   unloading operations. Upon information and belief, these activities result in illicit discharges of
 2   the bulk commodities in violation of the General Permits. These requirements, and the Port’s
 3
     violations thereof, are described in section V of the Notice Letter, attached hereto as Exhibit 1 at
 4
     10–11, and are incorporated herein by this reference except to the extent the Notice Letter alleges
 5
     liability under the CWA for violation days before May 8, 2016.
 6

 7          27.     Further, these illicit discharges violate section 301(a) of the CWA because they

 8   are not authorized by the General Permits or another NPDES permit. These discharges are made

 9   via point sources, including the structures, equipment, and devises used for loading and
10   unloading bulk commodities. These discharges are made to a water of the United States, as the
11
     Columbia River is a navigable water body at the locations of the discharges. The bulk
12
     commodities discharged by the Port constitute “pollutants” under the CWA when discharged to
13
     navigable waters. Upon information and belief, the Port has knowledge of these discharges and
14

15   the ability, through its lease agreements with its tenants and its other authorities as the owner of

16   the Facility, to prevent and/or control these discharges. The Port’s violations of section 301(a) of

17   the CWA are described in section V of the Notice Letter, attached hereto as Exhibit 1 at 10–11,
18
     and are incorporated herein by this reference except to the extent the Notice Letter alleges
19
     liability under the CWA for violation days before May 8, 2016.
20
            28.     The Port has not conducted and/or completed the corrective action responses as
21
     required by the General Permits. These requirements of the General Permits, and Port’s
22

23   violations thereof, are described in section VI of the Notice Letter, attached hereto as Exhibit 1 at

24   11–17, and are incorporated herein by this reference except to the extent the Notice Letter alleges
25   liability under the CWA for violation days before May 8, 2016.
26
            29.     The General Permits require a permittee to undertake a Level 1 corrective action
27
     whenever contamination in the permittee’s stormwater discharge exceeds a benchmark level. A
28
                                                                              KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 11                                                           1300 S.E. Start Street, Suite 202
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              Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 12 of 43



 1   Level 1 corrective action comprises reviewing the SWPPP to ensure permit compliance; revising
 2   the SWPPP to include additional operational source control BMPs with the goal of achieving the
 3
     applicable benchmark values in future discharges; signing and certifying the revised SWPPP;
 4
     summarizing the Level 1 corrective action in the annual report; and fully implementing the
 5
     revised SWPPP as soon as possible, but no later than the discharge monitoring report due date
 6

 7   for the quarter the benchmark was exceeded. The 2020 General Permit requires the

 8   implementation of any Level 1 corrective actions triggered under the 2015 General Permit.

 9          30.     The Port triggered a Level 1 corrective action for each benchmark exceedance
10   identified in Table 1, above. The Port has violated the requirements of the General Permits by
11
     failing to conduct a Level 1 corrective action in accordance with permit conditions each time
12
     since and including the first quarter of 2016 that the Port’s quarterly stormwater sampling results
13
     were greater than a benchmark for zinc or copper, including the benchmark excursions listed in
14

15   Table 1, above. These corrective action requirements, and the Port’s violations thereof, are

16   described in section VI.A of the Notice Letter, attached hereto as Exhibit 1 at 11–12, and are

17   incorporated herein by this reference except to the extent the Notice Letter alleges liability under
18
     the CWA for violation days before May 8, 2016.
19
            31.     The General Permits require a permittee to undertake a Level 2 corrective action
20
     whenever its discharges exceed a particular benchmark value for any two quarters during a
21
     calendar year. A Level 2 corrective action comprises reviewing the SWPPP to ensure permit
22

23   compliance; revising the SWPPP to include additional structural source control BMPs with the

24   goal of achieving the benchmark in future discharges; signing and certifying the revised SWPPP;
25   summarizing the Level 2 corrective action (planned or taken) in the annual report; and fully
26
     implementing the revised SWPPP by August 31 of the following year, including installation of
27

28
                                                                             KAMPMEIER & KNUTSEN PLLC
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              Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 13 of 43



 1   necessary structural source control BMPs. The 2020 General Permit requires the implementation
 2   of any Level 2 correction actions triggered under the 2015 General Permit.
 3
            32.     The Port triggered Level 2 corrective action requirements for pollutant parameters
 4
     as indicated by the benchmark exceedances in Table 1, above. The Port violated the requirements
 5
     of the General Permits described above by failing to conduct Level 2 corrective actions in the
 6

 7   manner required each time the Port’s stormwater sampling results triggered the requirements of a

 8   Level 2 corrective action under the provisions of the General Permits since and including 2015.

 9   These corrective action requirements, and the Port’s violations thereof, are described in section
10   VI.B of the Notice Letter, attached hereto as Exhibit 1 at 12–13, and are incorporated herein by
11
     this reference except to the extent the Notice Letter alleges liability under the CWA for violation
12
     days before May 8, 2016.
13
            33.     The General Permits requires a permittee to undertake a Level 3 corrective action
14

15   whenever the permittee’s discharges exceed a benchmark value for any three quarters during a

16   calendar year. This is the most comprehensive adaptive management provision under the General

17   Permits. A Level 3 corrective action comprises reviewing the SWPPP to ensure permit
18
     compliance; revising the SWPPP to include additional treatment BMPs with the goal of
19
     achieving benchmarks in future discharges (and additional operational and/or structural source
20
     control BMPs if necessary for proper function and maintenance of the treatment BMPs); signing
21
     and certifying the revised SWPPP; summarizing the Level 3 corrective action in the annual
22

23   report, including information on how monitoring, assessment, or evaluation was (or will be) used

24   to determine whether existing treatment BMPs will be modified/enhanced or if new/additional
25   treatment BMPs will be installed; and fully implementing the revised SWPPP as soon as
26
     practicable and no later than September 30 of the following year, including installation of
27
     necessary treatment BMPs. A specified professional must review the revised SWPPP, sign the
28
                                                                            KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 13                                                         1300 S.E. Start Street, Suite 202
     No. 3:21-cv-05486                                                         Portland, Oregon 97214
                                                                                   (503) 841-6515
              Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 14 of 43



 1   SWPPP certification form, and certified that it is reasonably expected to meet benchmarks upon
 2   implementation. Before installing any BMPs that require the site-specific design or sizing of
 3
     structures, equipment, or processes to collect, convey, treat, reclaim, or dispose of industrial
 4
     stormwater, the permittee must submit an engineering report, certified by a licensed professional
 5
     engineer, to Ecology for review. The report must contain: (1) a brief summary of the treatment
 6

 7   alternatives considered and why the proposed option was selected, including cost estimates of

 8   ongoing operation and maintenance and disposal of any spent media; (2) the basic design data,

 9   including characterization of stormwater influent and sizing calculations for the treatment units;
10   (3) a description of the treatment process and operation, including a flow diagram; (4) the
11
     amount and kind of chemicals used in the treatment process, if any; (5) the expected results from
12
     the treatment process including the predicted stormwater discharge characteristics; and (6) a
13
     statement, expressing sound engineering justification—through the use of pilot plant data, results
14

15   from similar installations, and/or scientific evidence—that the proposed treatment is reasonably

16   expected to meet the permit benchmarks. The engineering report must be submitted no later than

17   the May 15 prior to the Level 3 corrective action deadline. The permittee must also submit an
18
     operations and maintenance manual to Ecology at least 30 days after construction/installation is
19
     complete.
20
            34.     The Port triggered Level 3 corrective action requirements for pollutant parameters
21
     as indicated by the benchmark exceedances in Table 1, above. The Port violated the requirements
22

23   of the General Permits described above by failing to conduct Level 3 corrective actions in the

24   manner required each time the Port’s stormwater sampling results triggered the requirements of a
25   Level 3 corrective action under the provisions of the General Permits since and including 2015.
26
     These corrective action requirements, and the Port’s violations thereof, are described in section
27
     VI.C.1 of the Notice Letter, attached hereto as Exhibit 1 at 13–15, and are incorporated herein by
28
                                                                             KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 14                                                          1300 S.E. Start Street, Suite 202
     No. 3:21-cv-05486                                                          Portland, Oregon 97214
                                                                                    (503) 841-6515
              Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 15 of 43



 1   this reference except to the extent the Notice Letter alleges liability under the CWA for violation
 2   days before May 8, 2016.
 3
            35.     The 2010 General Permit prescribed Level 3 corrective action requirements
 4
     substantially similar to those contained in the 2015 General Permit and the 2020 General Permit.
 5
     The Port triggered Level 3 corrective action requirements for total zinc and total copper with its
 6

 7   stormwater discharge monitoring results from 2010. Ecology extended the implementation

 8   deadline a total of six years via Ecology Order 8719 and Ecology Amended Order 10920; from

 9   September 30, 2011 to September 30, 2017. The Port violated the requirements of the 2010
10   General Permit and the Ecology orders by failing to fully implement the Level 3 corrective
11
     actions triggered in 2010 for total zinc and total copper. These corrective action requirements,
12
     and Port’s violations thereof, are described in section VI.C.2 of the Notice Letter, attached hereto
13
     as Exhibit 1 at 15–17, and are incorporated herein by this reference except to the extent the
14

15   Notice Letter alleges liability under the CWA for violation days before May 8, 2016.

16          36.     Upon information and belief, the Port has failed to comply with recording and

17   record keeping requirements of the General Permits. These requirements, and the Port’s
18
     violations thereof, are described in section VII of the Notice Letter, attached hereto as Exhibit 1
19
     at 17, and are incorporated herein by this reference except to the extent the Notice Letter alleges
20
     liability under the CWA for violation days before May 8, 2016.
21
            37.     The General Permits require a permittee to take certain reporting and other
22

23   responsive actions each time the permittee violates any terms and conditions of the General

24   Permits in a manner that may endanger human health or the environment. The Port has
25   repeatedly violated these requirements, including each and every time during the last five years
26
     and sixty days that the Port: failed to comply with corrective action requirements and/or
27
     discharged stormwater with concentrations of pollutants that are likely to cause or contribute to
28
                                                                             KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 15                                                          1300 S.E. Start Street, Suite 202
     No. 3:21-cv-05486                                                          Portland, Oregon 97214
                                                                                    (503) 841-6515
              Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 16 of 43



 1   violations of water quality standards. These requirements, and the Port’s violations thereof, are
 2   described in section VIII of the Notice Letter, attached hereto as Exhibit 1 at 17–18, and are
 3
     incorporated herein by reference except to the extent the Notice Letter alleges liability under the
 4
     CWA for violation days before May 8, 2016.
 5
            38.     The violations alleged herein are ongoing because they are continuing and/or are
 6

 7   reasonably likely to recur. For example, the Port’s failure to timely and fully complete corrective

 8   actions are continuing violations and recurring. Notably, the Port triggered the requirements of a

 9   Level 3 corrective action for total copper with its discharge monitoring results for 2020, but has
10   failed to undertake required actions; e.g., the Port’s 2020 annual report fails to identify any
11
     additional stormwater treatment measures being implemented as part of a Level 3 corrective
12
     action and the Port failed to summit the required engineering report by May 15, 2021 for the
13
     Level 3 corrective action.
14

15          39.     Discharges from the Port’s Facility contribute to the polluted conditions of the

16   waters of the United States, including the Columbia River. Discharges from the Port’s Facility

17   contribute to the ecological impacts that result from the polluted condition of these waters and to
18
     Riverkeeper’s and its members’ injuries resulting therefrom.
19
            40.     The vicinity of the Facility’s discharges are used by the citizens of Washington
20
     and Oregon and visitors, as well as at least one of Riverkeeper’s members, for activities
21
     including swimming, boating, biking, fishing and nature watching. Riverkeeper’s member(s) also
22

23   derive(s) aesthetic benefits from the receiving waters. Riverkeeper’s and its members’ enjoyment

24   of these activities and waters is diminished by the polluted state of the receiving waters and by
25   the Port’s contributions to such a polluted state.
26
            41.     A significant penalty should be imposed against the Port under the penalty factors
27
     set forth in section 309(d) of the CWA, 33 U.S.C. § 1319(d).
28
                                                                              KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 16                                                           1300 S.E. Start Street, Suite 202
     No. 3:21-cv-05486                                                           Portland, Oregon 97214
                                                                                     (503) 841-6515
              Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 17 of 43



 1          42.     The Port’s violations were avoidable had Port been diligent in overseeing the
 2   Facility’s operations and maintenance.
 3
            43.     The Port has benefited economically as a consequence of its violations and its
 4
     failure to implement improvements at the facility.
 5
            44.     In accordance with section 505(c)(3) of the CWA, 33 U.S.C. § 1365(c)(3), and 40
 6

 7   C.F.R. § 135.4, Riverkeeper will mail either a filed, date-stamped copy of this complaint or a

 8   conformed copy of this complaint after it is filed to the Administrator of the EPA, the Regional

 9   Administrator for Region 10 of the EPA, and the Attorney General of the United States.
10                                 VI.     FIRST CAUSE OF ACTION
11
            45.     The preceding paragraphs are incorporated herein by this reference.
12
            46.     The Port’s violations of the General Permits and the 2010 General Permit
13
     described herein and in the Notice Letter constitute violations of an “effluent standard or
14

15   limitation” as defined by section 505(f) of the CWA, 33 U.S.C. § 1365(f).

16          47.     Upon information and belief, these violations committed by the Port are

17   continuing or are reasonably likely to continue to recur. Any and all additional violations of the
18
     General Permits that occur after the date of Riverkeeper’s Notice Letter, but before a final
19
     decision in this action, should be considered continuing violations subject to this complaint.
20
            48.     Without the imposition of appropriate civil penalties and the issuance of an
21
     injunction, the Port is likely to continue to violate the General Permits to the further injury of
22

23   Riverkeeper, its member(s), and the public.

24                                VII.    SECOND CAUSE OF ACTION
25          49.     The preceding paragraphs are incorporated herein by this reference.
26
            50.     The Port’s unauthorized discharges of pollutants to waters of the United States in
27
     violation of section 301(a) of the CWA, 33 U.S.C. § 1311(a), described herein and in the Notice
28
                                                                              KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 17                                                           1300 S.E. Start Street, Suite 202
     No. 3:21-cv-05486                                                           Portland, Oregon 97214
                                                                                     (503) 841-6515
              Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 18 of 43



 1   Letter constitute violations of an “effluent standard or limitation” as defined by section 505(f) of
 2   the CWA, 33 U.S.C. § 1365(f).
 3
            51.     Upon information and belief, these violations committed by the Port are
 4
     continuing or are reasonably likely to continue to recur. Any and all additional unauthorized
 5
     discharges of pollutants in violation of the section 301(a) of the CWA, 33 U.S.C. § 1311(a), that
 6

 7   occur after the date of Riverkeeper’s Notice Letter, but before a final decision in this action,

 8   should be considered continuing violations subject to this complaint.

 9          52.     Without the imposition of appropriate civil penalties and the issuance of an
10   injunction, the Port’s unauthorized discharges of pollutants in violation of the section 301(a) of
11
     the CWA, 33 U.S.C. § 1311(a), are likely to continue to the further injury of Riverkeeper, its
12
     member(s), and the public.
13
                                      VIII. RELIEF REQUESTED
14

15          Wherefore, Riverkeeper respectfully requests that this Court grant the following relief:

16          A.      Issue a declaratory judgment that the Port violated, and continues to be in

17   violation of, the General Permits and the 2010 General Permit;
18
            B.      Issue a declaratory judgment that the Port violated, and continues to be in
19
     violation of, section 301(a) of the CWA, 33 U.S.C. § 1311(a);
20
            C.      Enjoin the Port from operating the Facility in a manner that results in further
21
     violations of the General Permits;
22

23          D.      Enjoin the Port from operating the Facility in a manner that results in further

24   violations of section 301(a) of the CWA, 33 U.S.C. § 1311(a);
25          E.      Order the Port to immediately implement a SWPPP that complies with the
26
     General Permits;
27

28
                                                                             KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 18                                                          1300 S.E. Start Street, Suite 202
     No. 3:21-cv-05486                                                          Portland, Oregon 97214
                                                                                    (503) 841-6515
                 Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 19 of 43



 1          F.       Order the Port to provide Riverkeeper, for a period beginning on the date of the
 2   Court’s Order and running for one year after the Port achieves compliance with all of the
 3
     conditions of the General Permits, with copies of all reports and other documents that the Port
 4
     submits to or receives from Ecology and/or EPA regarding the Port’s coverage under the General
 5
     Permits, at the same time those documents are submitted to or received from Ecology and/or
 6

 7   EPA;

 8          G.       Order the Port to take specific actions to remediate the environmental harm

 9   caused by its violations;
10          H.       Grant such other preliminary and/or permanent injunctive relief as Riverkeeper
11
     may from time to time request during the pendency of this case;
12
            I.       Order the Port to pay civil penalties as authorized by sections 309(d) and 505(a)
13
     of the CWA, 33 U.S.C. §§ 1319(d) and 1365(a), and 40 C.F.R. § 19.
14

15          J.       Award Riverkeeper its litigation expenses, including reasonable attorneys’ and

16   expert witness fees, as authorized by section 505(d) of the CWA, 33 U.S.C. § 1365(d), or as

17   otherwise authorized by law; and
18
            K.       Award such other relief as this Court deems appropriate.
19
            RESPECTFULLY SUBMITTED this 7th day of July, 2021.
20

21                                         [signatures on following page]

22

23

24

25

26

27

28
                                                                            KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 19                                                         1300 S.E. Start Street, Suite 202
     No. 3:21-cv-05486                                                         Portland, Oregon 97214
                                                                                   (503) 841-6515
            Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 20 of 43



 1                          KAMPMEIER & KNUTSEN, PLLC
 2                          By: s/ Brian A. Knutsen
 3                          Brian A. Knutsen, WSBA No. 38806
                            1300 S.E. Stark Street, Suite 202
 4                          Portland, Oregon 97214
                            Tel: (503) 841-6515
 5                          Email: brian@kampmeierknutsen.com
 6                          By: s/ Jessica Durney
 7                          Jessica Durney, WSBA No. 57923
                            811 First Avenue, Suite 468
 8                          Seattle, Washington 98104
                            Tel.: (206) 739-5184
 9                          Email: jessica@kampmeierknutsen.com
10

11                          COLUMBIA RIVERKEEPER

12                          Simone Anter, WSBA No. 52716
                            407 Portway Avenue, Suite 301
13                          Hood River, Oregon 97031
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14
                            Email: simone@columbiariverkeeper.org
15
                            Attorneys for Plaintiff Columbia Riverkeeper
16

17

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22

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28
                                                                  KAMPMEIER & KNUTSEN PLLC
     COMPLAINT - 20                                               1300 S.E. Start Street, Suite 202
     No. 3:21-cv-05486                                               Portland, Oregon 97214
                                                                         (503) 841-6515
Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 21 of 43




           EXHIBIT 1
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 22 of 43


             KAMPMEIER & KNUTSEN P L L C
                                 ATTORNEYS AT LAW


BRIAN A. KNUTSEN
Licensed in Oregon & Washington
503.841.6515
brian@kampmeierknutsen.com

                                       November 5, 2020

Via CERTIFIED MAIL – Return Receipt Requested
Julianna Marler, CEO                       Kent Cash, Chief Operations Officer
Port of Vancouver USA                      Port of Vancouver USA
3103 NW Lower River Road                   3103 NW Lower River Road
Vancouver, WA 98660                        Vancouver, WA 98660

Patty Boyden, Director of Environmental Services      Don Orange, District One Commissioner
Port of Vancouver USA                                 Port of Vancouver USA
3103 NW Lower River Road                              3103 NW Lower River Road
Vancouver, WA 98660                                   Vancouver, WA 98660

Eric LaBrant, District Two Commissioner               Jack Burkman, District Three Commissioner
Port of Vancouver USA                                 Port of Vancouver USA
3103 NW Lower River Road                              3103 NW Lower River Road
Vancouver, WA 98660                                   Vancouver, WA 98660

Re:    NOTICE OF INTENT TO SUE UNDER THE CLEAN WATER ACT AND
       REQUEST FOR COPY OF STORMWATER POLLUTION PREVENTION PLAN

Dear Commissioners, Ms. Marler, Mr. Cash, and Ms. Boyden:

        This letter is submitted on behalf of Columbia Riverkeeper, 407 Portway Ave, Suite 301,
Hood River, OR 97031. This letter provides you with sixty days notice of Columbia
Riverkeeper’s intent to file a citizen suit against the Port of Vancouver USA (the “Port”) under
section 505 of the Clean Water Act (“CWA”), 33 U.S.C § 1365, for the violations described
below. This letter also requests a copy of the complete and current stormwater pollution
prevention plan (“SWPPP”) required by the Port’s National Pollution Discharge Elimination
System (“NPDES”) permit.

        The Port was granted coverage under the previous iteration of Washington’s Industrial
Stormwater General Permit (“ISGP”) issued by the Washington Department of Ecology
(“Ecology”) on December 3, 2014 and effective January 2, 2015 under NPDES permit number
WAR000424 (the “2015 Permit”). The 2015 Permit expired on December 31, 2019 and was
replaced with the subsequent iteration of the ISGP, effective January 1, 2020 and set to expire on
December 31, 2024. The Port applied for renewal within 180 days of the 2015 Permit’s
expiration. Ecology granted the Port coverage under the 2020 Permit, maintaining the same
permit number, WAR000424 (the “2020 Permit”).
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 23 of 43




         The Port has violated and continues to violate the terms and conditions of the 2015
Permit and 2020 Permit (collectively, the “Permits”) with respect to the operation of, and
discharges of stormwater and pollutants from, its facility located at or near 3103 NW Lower
River Road Vancouver, WA 98660 (the “facility”), where it operates as a public port district for
various properties, including warehouses, industrial and commercial buildings, marine facilities,
grain terminals, ship load-out facilities (berths), industrial wastewater collection and treatment
facilities, and some undeveloped land. The facility subject to this notice includes all contiguous
or adjacent properties owned and/or operated by the Port, regardless of whether a specific area
discharges some stormwater to a pretreatment and/or sanity sewer system, and is generally
depicted in the figure attached hereto as Attachment A. The Port has also violated and continues
to violate administrative orders issued by Ecology pertaining to the Port’s compliance with the
ISGP. The Port further has violated and continues to violate section 301(a) of the CWA, 33
U.S.C. § 1311(a), by discharging pollutants from point sources to waters of the United States
without the authorization of an NPDES permit.

I.     COLUMBIA RIVERKEEPER’S COMMITMENT TO PROTECTING A
       FISHABLE AND SWIMMABLE COLUMBIA RIVER.

       Columbia Riverkeeper’s mission is to restore and protect the water quality of the
Columbia River and all life connected to it, from the headwaters to the Pacific Ocean. Columbia
Riverkeeper is a non-profit organization with members who live, recreate, and work throughout
the Columbia River basin, including near and downstream of the Port.

        Threats facing the Columbia River are severe by any measure. See Columbia River Basin
State of the River Report for Toxics, Environmental Protection Agency, Region 10 (January
2009) (available online at:
https://www.epa.gov/sites/production/files/documents/columbia_state_of_the_river_report_jan20
09.pdf). In fact, the vast majority of rivers and streams in Washington fail to meet basic state
water quality standards for pollutants such as toxics and temperature. See State of Washington
303(d) List (available online at: https://ecology.wa.gov/Water-Shorelines/Water-quality/Water-
improvement/Assessment-of-state-waters-303d). Water quality standards are designed to protect
designated uses, including aquatic life, fishing, swimming, and drinking water.

         Stormwater runoff is “one of the great challenges of water pollution control” and “is a
principal contributor to water quality impairment of waterbodies nationwide.” See Urban Storm
Management in the United States, National Research Council (Oct. 15, 2008) (available online
at: http://www.epa.gov/npdes/pubs/nrc_stormwaterreport.pdf). When rain sends runoff across
streets, construction projects, and industrial facilities, the water picks up contaminants that are
drained into waterways such as the Columbia River and its tributaries. To address this leading
cause of water quality impairment, Columbia Riverkeeper invests significant time and resources
in reducing pollutant loads from industrial, municipal, and construction stormwater sources.

        This Notice of Intent to Sue the Port is part of Columbia Riverkeeper’s effort to improve
water quality in the Columbia River Basin for purposes including swimming, habitat quality, and
subsistence, recreational, and commercial fishing. Columbia Riverkeeper has serious concerns
about the impacts of the Port’s operations and industrial stormwater discharges on the Columbia



                                                                                                      2
           Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 24 of 43




River. As discussed below, the Port has repeatedly discharged contaminates in excess of the
Permits’ benchmarks while failing to implement the required corrective actions, failed to
representatively sample its discharges, and failed to adopt and implement a SWPPP that satisfies
the requirements of Washington’s ISGP. The Port’s operations and stormwater discharges
degrade water quality in the Columbia River Basin and may contribute to conditions that place
the health of those who use the Columbia River at risk.

II.       VIOLATIONS OF STANDARDS.

          A.     Violation of Water Quality Standards.

        Condition S10.A of the Permits prohibits discharges that cause or contribute to violations
of water quality standards. Water quality standards are the foundation of the CWA’s and
Washington’s efforts to protect clean water. Water quality standards represent the U.S.
Environmental Protection Agency’s (“EPA”) and Ecology’s determination, based on scientific
studies, of the thresholds at which pollution starts to cause significant adverse impacts on fish
and other beneficial uses.

        A discharger must comply with both narrative and numeric water quality standards.
WAC 173-201A-010; see also WAC 173-201A-510 (“No waste discharge permit can be issued
that causes or contributes to a violation of water quality criteria . . . .”). Narrative water quality
standards provide legal mandates that supplement the numeric standards. Furthermore, narrative
water quality standards apply with equal force, even when Ecology has established numeric
water quality standards. Specifically, Condition S10.A of the Permits requires that the Port
neither cause nor contribute to violations of Washington’s water quality standards.

       The Port discharges stormwater into the Columbia River directly and via ditches, pipes,
ponds, wharf openings, and other discrete conveyances and features of the facility’s stormwater
system. The Port discharges stormwater that contains elevated levels copper and zinc. See Table
1, below. These discharges cause and/or contribute to violations of water quality standards for
copper and zinc, and aesthetic criteria in the Columbia River and have occurred each and every
day during the last five years on which there was 0.1 inch or more of precipitation, and continue
to occur. These water quality standards include those set forth in WAC 173-201A-200; -240; and
-260(2).

                     TABLE 1: DMR Monitoring Data Reported by the Port
 Monitoring Period       Discharge Monitoring         Total Copper                Total Zinc
                                Point               Benchmark: 14 µg/L        Benchmark: 117 µg/L
      1st Quarter 2015            T2                       CA                        CA
                                  T4                      37.9                       86.8
  2nd Quarter 2015                T2                       ND                        ND
                                  T4                       72                         53
      3rd Quarter 2015            T2                       CA                        CA
                                  T4                       35                         24
      4th Quarter 2015            T2                       CA                        CA


                                                                                                         3
        Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 25 of 43




                                 T4                        41.4                  CA
  1st Quarter 2016               T2                        CA                    CA
                                 T4                        40.7                  CA
 2nd Quarter 2016                T2                        CA                    CA
                                 T4                        23.5                  CA
  3rd Quarter 2016               T2                        ND                    ND
                                 T4                        ND                    ND
  4th Quarter 2016               T2                        CA                    CA
                                 T4                         21                   CA
  1st Quarter 2017               T2                          3                    14
                                 T4                         34                   CA
 2nd Quarter 2017                T2                        15.2                  170
                                 T4                        ND                    ND
  3rd Quarter 2017               T2                         11                    42
                                 T4                         30                    27
  4th Quarter 2017               T2                        10.7                 100.5
                                 T4                        29.5                   12
  1st Quarter 2018               T2                         8.1                   78
                                 T4                       19.95                   24
 2nd Quarter 2018                T2                        ND                    ND
                                 T4                        ND                    ND
  3rd Quarter 2018               T2                        ND                    ND
                                 T4                        ND                    ND
  4th Quarter 2018               T2                         12                    85
                                 T4                        42.5                   59
  1st Quarter 2019               T2                         4.7                 74.1
                                 T4                        20.1                   44
 2nd Quarter 2019                T2                        10.3                  290
                                 T4                     23.5571                  19.7
  3rd Quarter 2019               T2                         5.5                  62.7
                                 T4                       18.95                 13.75
  4th Quarter 2019               T2                        ND                    ND
                                 T4                          8                    12
  1st Quarter 2020               T2                         11                   107
                                 T4                     13.9333                  36.3
 2nd Quarter 2020                T2                        11.1                  220
                                 T4                       21.65                 89.55
Monitoring results shown in Bold exceed the Permits’ benchmarks
CA: DMR represents that the facility was at consistent attainment
ND: DMR represents that there was no discharge from the facility

       B.     Violations of Permitting Standards.

      Condition S10.C of the Permits requires the Port to apply all known and reasonable
methods of pollution prevention, control, and treatment (“AKART”) to all discharges, including


                                                                                                 4
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 26 of 43




preparing and implementing an adequate SWPPP and best management practices (“BMPs”). The
Port has violated and continues to violate this condition by failing to apply AKART to its
discharges by, among other things, failing to implement an adequate SWPPP and BMPs as
evidenced by the elevated levels of pollutants in its discharge indicated in Table 1 above and as
described below. These violations have occurred on each and every day during the last 5 years
and continue to occur every day.

III.   STORMWATER POLLUTION PREVENTION PLAN VIOLATIONS.

        Columbia Riverkeeper hereby provides notice, based upon information and belief, that
the Port has not developed and implemented a SWPPP that complies with the requirements of
the Permits. The extensive violations of the Permits and the ongoing discharges of polluted
industrial stormwater documented in the publicly available records indicate that the Port is not
fully implementing a SWPPP that includes adequate BMPs and that otherwise includes all of the
required SWPPP components. The violations of the Permits’ SWPPP provisions described below
have occurred each and every day over the last five years and continue to occur each day.

        Condition S3.A of the Permits requires the Port to develop and implement a SWPPP as
specified in the Permits and to update the SWPPP as necessary to maintain compliance with the
Permits. Conditions S3.A.2 of the 2015 Permit and S3.A.1 of the 2020 Permit require the
SWPPP to specify the BMPs necessary to provide AKART and ensure that discharges do not
cause or contribute to violations of water quality standards. On information and belief, the Port
violated these requirements of the Permits by failing to prepare a SWPPP that includes AKART
BMPs, BMPs necessary to meet state water quality standards, and that is otherwise fully
consistent with the Permits, by failing to fully implement a SWPPP, and by failing to update a
SWPPP as necessary. Condition S3.A.3.c of the 2020 Permit requires the Port’s SWPPP to be
updated to be consistent with the 2020 Permit by January 30, 2020. The Port has violated
Condition S3.A.3.c by failing to timely update and certify the facility’s SWPPP by January 30,
2020.

         On information and belief, the SWPPP fails to satisfy the requirements of Condition S3
of the Permits because it does not adequately describe the necessary BMPs. Condition S3.B.4 of
the Permits requires that the SWPPP include a description of the BMPs that are necessary for the
facility to eliminate or reduce the potential to contaminate stormwater. Condition S3.B.4 of the
Permits requires that the SWPPP detail how and where the selected BMPs will be implemented.
Condition S3.A.3 of the 2015 Permit and Condition S3.A.2 of the 2020 Permit require that the
SWPPP include BMPs consistent with approved stormwater technical manuals (or document
how stormwater BMPs included in the SWPPP are demonstratively equivalent to the practices
contained in the approved stormwater technical manuals, including the proper selection,
implementation, and maintenance of all applicable and appropriate BMPs). The Port’s SWPPP
does not comply with these requirements because it does not adequately describe and explain in
detail the BMPs selected, does not include BMPs consistent with approved stormwater technical
manuals, and/or does not include BMPs that are demonstratively equivalent to approved BMPs
with documentation of BMP adequacy.




                                                                                                    5
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 27 of 43




         The Port’s SWPPP fails to satisfy the requirements of Condition S3.B.1 of the Permits
because it fails to include a site map that includes all required components. The SWPPP does not
comply with Condition S3.B.1 of the 2015 Permit because it does not include a site map that
identifies: the scale or include relevant distances between significant structures and drainage
systems; significant features; the stormwater drainage and discharge structures; the stormwater
drainage areas for each stormwater discharge point off-site with a unique identifying number for
each discharge point; each sampling location with a unique identifying number; paved areas and
buildings; areas of pollutant contact associated with specific industrial activities; conditionally
approved non-stormwater discharges; surface water locations; areas of existing and potential soil
erosion; vehicle maintenance areas; and lands and waters adjacent to the site that may be helpful
in identifying discharge points or drainage routes. The SWPPP does not comply with Condition
S3.B.1 of the 2020 Permit because it does not include a site map that identifies: the scale or
includes relative distances between significant structures and drainage systems; size of the
property in acres; location and extent of all buildings, structures and all impervious surfaces;
direction of the stormwater flow; locations of all structural source control BMPs and all
receiving water in the immediate vicinity of the facility; conditionally approved non-stormwater
discharges; areas of existing and potential soil erosion that could result in the discharge of a
significant amount of turbidity, sediment, or other pollutants; locations of all stormwater
conveyances including ditches, pipes, catch basins, vaults, ponds, swales, etc.; locations of actual
and potential pollutant sources; locations of all stormwater monitoring points; stormwater
drainage areas for each stormwater discharge point off site (including discharges to
groundwater); locations of stormwater inlets and outfalls with a unique identification number for
each sampling point and discharge point, indicating any that are identified as substantially
identical, and identify, by name, any other party other than The Port that owns any stormwater
drainage or discharge structures; combined sewers or MS4s and where stormwater discharges to
them; locations of fueling and vehicle maintenance areas; and locations and sources of run-on to
the site from adjacent properties that may contain pollutants.

        The Port’s SWPPP fails to satisfy the requirements of Condition S3.B.2 of the Permits
because it fails to include a facility assessment that includes: a description of the facility; an
inventory of facility activities and equipment that contribute to or have the potential to contribute
any pollutants to stormwater; and an inventory of materials that contribute to or have the
potential to contribute pollutants to stormwater.

       The SWPPP does not comply with Condition S3.B.2.a of the Permits because it does not
include a facility description that describes: the industrial activities conducted at the site; the
general layout of the facility including buildings and storage of raw materials, the flow of goods
and materials through the facility; and the regular business hours, and the seasonal variations in
business hours or industrial activities.

        The Port’s SWPPP fails to comply with Condition S3.B.2.b of the Permits because it
does not include an inventory of industrial activities that identifies all areas associated with
industrial activities that have been or may potentially be sources of pollutants. The SWPPP does
not identify all areas associated with loading and unloading or dry bulk materials or liquids;
outdoor storage of materials or products; outdoor manufacturing and processing; onsite dust or
particulate generating processes; on-site waste treatment, storage, or disposal; vehicle and



                                                                                                      6
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 28 of 43




equipment fueling, maintenance, and/or cleaning; roofs or other surfaces exposed to air
emissions from a manufacturing building or a process area; and roofs or other surfaces composed
of materials that may be mobilized by stormwater, as required by these permit conditions.

         The Port’s SWPPP does not comply with Condition S3.B.2.c of the Permits because it
does not include an adequate inventory of materials. The SWPPP does not include: an inventory
of materials that lists the types of materials handled at the site that potentially may be exposed to
precipitation or runoff and that could result in stormwater pollution; a short narrative for each
material describing the potential for pollutants to be present in stormwater discharge that is
updated when data becomes available to verify the presence or absence of pollutants; or a
narrative description of any potential sources of pollutants from past activities, materials, and
spills that were previously handled, treated, stored, or disposed of in a manner to allow ongoing
exposure to stormwater, as required. The SWPPP also does not include the method and location
of on-site storage or disposal of such materials and a list of significant spills and significant leaks
of toxic or hazardous pollutants, as the Permits require.

       The Port’s SWPPP does not comply with Condition S3.B.3 of the Permits because it does
not identify specific individuals by name or title whose responsibilities include SWPPP
development, implementation, maintenance, and modification.

        Condition S3.B.4 of the Permits requires that permittees include in their SWPPPs, and
implement, certain mandatory BMPs unless site conditions render the BMP unnecessary,
infeasible, or an alternative and equally effective BMP is provided. The Port is in violation of
these requirements because it has failed to include in its SWPPP, and implement, the mandatory
BMPs required by the Permits, as detailed below.

         The Port’s SWPPP does not comply with Condition S3.B.4.b.i of the Permits because it
does not include required operational source control BMPs in the following categories: good
housekeeping (including definition of ongoing maintenance and cleanup of areas that may
contribute pollutants to stormwater discharges, and a schedule/frequency for each housekeeping
task); preventive maintenance (including BMPs to inspect and maintain stormwater drainage and
treatment facilities, source controls, treatment systems, and plant equipment and systems, and the
schedule/frequency for each task); spill prevention and emergency cleanup plan (including
BMPs for preventing spills that can contaminate stormwater; for material handling procedures;
storage requirements; cleanup equipment and procedures; and spill logs); employee training
(including an overview of what is in the SWPPP, how employees make a difference in
complying with the SWPPP, spill response procedures, good housekeeping, maintenance
requirements, material management practices, how training will be conducted, the
frequency/schedule of training, and a log of the dates on which specific employees received
training); and inspections and recordkeeping (including documentation of procedures to ensure
compliance with permit requirements for inspections and recordkeeping, including identification
of personnel who conduct inspections, provision of a tracking or follow-up procedure to ensure
that a report is prepared and appropriate action taken in response to visual monitoring, definition
of how the Port will comply with signature and record retention requirements, certification of
compliance with the SWPPP and Permit, and all inspection reports completed by the Port).




                                                                                                     7
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 29 of 43




       The Port’s SWPPP does not comply with Condition S3.B.4.b.i.7 of the Permits because it
does not include measures to identify and eliminate the discharge of process wastewater,
domestic wastewater, noncontact cooling water, and other illicit discharges.

        The Port’s SWPPP does not comply with Condition S3.B.4.b.ii of the Permits because it
does not include required structural source control BMPs to minimize the exposure of
manufacturing, processing, and material storage areas to rain, snow, snowmelt, and runoff. The
Port’s SWPPP does not comply with Condition S3.B.4.b.iii of the Permits because it does not
include treatment BMPs as required.

        The Port’s SWPPP fails to comply with Condition S3.B.4.b.v of the Permits because it
does not include BMPs to prevent the erosion of soils or other earthen materials and prevent off-
site sedimentation and violations of water quality standards.

       The Port’s SWPPP fails to satisfy the requirements of Condition S3.B.5 of the Permits
because it fails to include an adequate stormwater sampling plan. The SWPPP does not include a
sampling plan that: identifies points of discharge to surface waters, storm sewers, or discrete
ground water infiltration locations; documents why any discharge point is not sampled; identifies
each sampling point by its unique identifying number; identifies staff responsible for conducting
stormwater sampling; specifies procedures for sample collection and handling; specifies
procedures for sending samples to the a laboratory; identifies parameters for analysis, holding
times and preservatives, laboratory quantization levels, and analytical methods; or specifies the
procedure for submitting the results to Ecology.

IV.    MONITORING AND REPORTING VIOLATIONS.

       A.      Failure to Collect Quarterly Discharge Samples.

        Condition S4.B of the Permits require the Port to sample its stormwater discharge once
during every calendar quarter. Conditions S3.B.5.b and S4.B.2.c of the 2015 Permit and
Conditions S3.B.5.b and S4.B.3 of the 2020 Permit require the Port to collect stormwater
samples at each distinct point of discharge offsite, except for substantially identical outfalls, in
which case only one of the substantially identical outfalls must be sampled. These conditions set
forth sample collection criteria, but require the collection of a sample even if the criteria cannot
be met. The Port has violated these permit conditions each and every time it has failed to collect
stormwater samples in compliance with the requirements of the Permits, including but not
limited to the instances described below. Each failure to collect a sample of a required pollutant
is a separate violation of the CWA.

        The Port violated these requirements by failing to collect stormwater discharge samples
at any of its discharge points during the third quarter of 2016 and the second and third quarters of
2018. The Port further violated these requirements by failing to collect stormwater discharges
from its T4 monitoring point during the second quarter of 2017 and from its T2 monitoring point
during the fourth quarter of 2019.




                                                                                                   8
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 30 of 43




        The Port also violated these conditions because the facility discharges from district points
of discharge that are not monitored, including outfalls T2A, T2B, and T2C, and that are not
substantially identical to the outfalls monitored by the Port. For example, T2A, T2B and T2C are
not substantially identical to the monitored outfall for Terminal 2—outfall T2M—because the
monitored outfall receives treatment in the form of a biofiltration system, while the unmonitored
outfalls do not receive any treatment. These violations have occurred and continue to occur each
and every quarter during the last five years that the Port was and is required to sample its
stormwater discharges, including the quarters in which it collected stormwater discharge samples
from some, but not all, points of discharge. These violations will continue until the Port
commences monitoring all points of discharge that are not substantially identical.

       B.      Failure to Analyze Quarterly Discharge Samples for Pollutant Parameters.

        Conditions S5.A and S5.B of the Permits require the Port to analyze all quarterly
stormwater samples for turbidity, pH, oil sheen, total copper, total zinc, and petroleum
hydrocarbons. Under the “consistent attainment” provisions of Condition S4.B.6 of the 2015
Permit, sample analysis for a parameter (other than oil sheen) may be discontinued for a period
of three years following eight consecutive quarters where samples complied with the applicable
benchmark value for that parameter. Under the “consistent attainment” provisions of Condition
S4.B.7 of the 2020 Permit, sample analysis for a parameter (other than oil sheen) may be reduced
to one annual discharge in the fourth quarter for a period of three years following eight
consecutive quarters where samples complied with the applicable benchmark value for that
parameter. The Port violated these requirements by failing to analyze discharge samples for the
parameters as identified in Table 2 below, which includes instances where the Port improperly
claimed analysis was not required under the Permits’ consistent attainment provisions.

                        TABLE 2: Pollutant Parameters Not Analyzed
  Monitoring        Monitoring                        Parameters Not Analyzed
     Period           Point
 Fourth Quarter        T2          Turbidity, pH, Total Copper, Total Zinc
      2015             T4          Turbidity, pH, Total Zinc
  First Quarter        T2          Turbidity, pH, Total Copper, Total Zinc
      2016             T4          Turbidity, pH, Total Zinc
 Second Quarter        T2          Turbidity, pH, Total Copper, Total Zinc
      2016             T4          Turbidity, pH, Total Zinc
                       T2          Turbidity, pH, Oil Sheen, Total Copper, Total Zinc, Petroleum
  Third Quarter                    Hydrocarbons
      2016               T4        Turbidity, pH, Oil Sheen, Total Copper, Total Zinc, Petroleum
                                   Hydrocarbons
 Fourth Quarter          T2        Turbidity, pH, Total Copper, Total Zinc
      2016               T4        Turbidity, pH, Total Zinc
  First Quarter          T4        Turbidity, pH, Total Zinc
      2017
 Second Quarter          T4        Turbidity, pH, Oil Sheen, Total Copper, Total Zinc, Petroleum
      2017                         Hydrocarbons


                                                                                                   9
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 31 of 43




                         T2        Turbidity, pH, Oil Sheen, Total Copper, Total Zinc, Petroleum
 Second Quarter                    Hydrocarbons
     2018                T4        Turbidity, pH, Oil Sheen, Total Copper, Total Zinc, Petroleum
                                   Hydrocarbons
                         T2        Turbidity, pH, Oil Sheen, Total Copper, Total Zinc, Petroleum
  Third Quarter                    Hydrocarbons
      2018               T4        Turbidity, pH, Oil Sheen, Total Copper, Total Zinc, Petroleum
                                   Hydrocarbons
 Fourth Quarter          T2        Turbidity, pH, Oil Sheen, Total Copper, Total Zinc, Petroleum
     2019                          Hydrocarbons

       C.      Failure to Comply with Visual Monitoring Requirements.

        Condition S7.A of the Permits requires that monthly visual inspections be conducted at
the facility by qualified personnel. Each inspection is to include: observations made at
stormwater sampling locations and areas where stormwater associated with industrial activity is
discharged; observations for the presence of floating materials, visible oil sheen, discoloration,
turbidity, odor, etc. in the stormwater discharges; observations for the presence of illicit
discharges; a verification that the descriptions of potential pollutant sources required by the
permit are accurate; a verification that the site map in the SWPPP reflects current conditions; and
an assessment of all BMPs that have been implemented (noting the effectiveness of the BMPs
inspected, the locations of BMPs that need maintenance, the reason maintenance is needed and a
schedule for maintenance, and locations where additional or different BMPs are needed).

        Condition S7.C of the Permits requires that the Port record the results of each inspection
in an inspection report or checklist that is maintained on-site and that documents the
observations, verifications, and assessments required. The report/checklist must include: the time
and date of the inspection; the locations inspected; a statement that, in the judgment of the person
conducting the inspection and the responsible corporate officer, the facility is either in
compliance or out of compliance with the SWPPP and the Permit; a summary report and
schedule of implementation of the remedial actions that the Port plans to take if the site
inspection indicates that the facility is out of compliance; the name, title, signature, and
certification of the person conducting the facility inspection; and a certification and signature of
the responsible corporate officer or a duly authorized representative.

        The Port is in violation of these requirements of Condition S7 of the Permits because,
during the last five years, it has failed to conduct each of the requisite visual monitoring and
inspections, failed to prepare and maintain the requisite inspection reports or checklists, and
failed to make the requisite certifications and summaries.

V.     ILLICIT AND PROHIBITED DISCHARGES.

       Condition S5.E of the Permits prohibit the discharge of process wastewater (including
stormwater that comingles with process wastewater) and illicit discharges. Appendix 2 to the
Permits define “illicit discharges” as “any discharge that is not composed entirely of
stormwater….” Operations at the facility include the loading of bulk commodities, including


                                                                                                   10
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 32 of 43




copper ore, urea, and grain, to vessels docked at the facility, the unloading of these same
materials from vessels docked at the facility to upland portions of the facility, and the cleaning of
structures and equipment used in loading and unloading operations. Upon information and belief,
during these activities, some of the bulk commodities, including copper ore, urea, grain, and dust
from these bulk commodities, escape the facility’s systems, structures, and equipment and spill
into the Columbia River in violation of Condition S5.E of the Permits. These prohibited
discharges occurred each and every day over the past five years that bulk commodities or other
materials were loaded to or off-loaded from ships and that structures and equipment used in
loading and unloading operations were cleaned. These prohibited discharges are reasonably
likely to continue to occur.

        Condition S7.B.3.b of the Permits require the Port to eliminate illicit discharges within 30
days of discovery, and Condition S3.B.4.b.i.7 of the Permits require the Port’s SWPPP to include
measures to identify and eliminate illicit discharges to surface waters. The Port has violated and
continues to violate these requirements by failing to include BMPs in its SWPPP and to
implement such BMPS that identify and eliminate the illicit discharges identified above. These
violations have occurred every day during the last five years and are continuing to occur.

        Additionally, Condition S7.B.3.a of the Permits requires the Port to notify Ecology within
seven days of any discovery of an illicit discharge. The Port violated and continues to violate
these requirements by failing to notify Ecology of the illicit discharges described above within
seven days of each occurrence. These violations have occurred each time the Port identified
these illicit discharges during the last five years.

        Moreover, the Permits authorize only the discharges of stormwater and pollutants
contained in stormwater. The Port has not been issued an NPDES permit authorizing discharges
of bulk commodities, such as copper ore, urea, grain, and dust from these bulk commodities.
Discharging these materials directly to the Columbia River from the facility, facility operations
and activities, and facility structures and equipment constitutes unpermitted point-source
discharges of pollutants to surface waters in violation of section 301(a) of the CWA, 33 U.S.C. §
1311(a). These violations occurred and continue to occur each and every day over the past five
years that bulk commodities or other materials were loaded to or off-loaded from ships and that
structures and equipment used in loading and unloading operations were cleaned. These
prohibited discharges are reasonably likely to continue to occur.

VI.    CORRECTIVE ACTION VIOLATIONS.

       A.      Failure to Implement Level One Corrective Actions.

        Condition S8.B of the Permits requires the Port take specified actions, called “Level One
Corrective Action,” each time quarterly stormwater sample results exceed any of the benchmark
values described in Conditions S5.A and S5.B. Condition S8.A of the 2020 Permit requires the
Port to implement any Level One Corrective Action required by the 2015 Permit

       For a Level One Corrective Action, Condition S8.B.1.a of the Permits requires the Port to
“[c]onduct an inspection to investigate the cause” of the benchmark exceedance. Additionally,



                                                                                                  11
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 33 of 43




for a Level One Corrective Action, Condition S8.B of the Permits requires the Port to: (1) review
the SWPPP for the facility and ensure that it fully complies with Condition S3 of the Permits and
contains the correct BMPs from the applicable Stormwater Management Manual; (2) make
appropriate revisions to the SWPPP to include additional operational source control BMPs with
the goal of achieving the applicable benchmark values in future discharges and sign and certify
the revised SWPPP in accordance with the Permits; and (3) summarize the Level One Corrective
Action in the Annual Report required under Condition S9.B of the 2015 Permit and Condition
S9.C of the 2020 Permit. Condition S8.B of the Permits requires the Port to implement the
revised SWPPP as soon as possible, and no later than the DMR due date for the quarter the
benchmark was exceeded.

      Condition S5.A and Table 2 of the Permits establish the following applicable
benchmarks: total copper 14 μg/L; and total zinc 117 µg/L.

         The Port violated the Level One Corrective Action requirements of the Permits described
above by failing to conduct a Level One Corrective Action in accordance with permit conditions,
including the required investigation, the required review, revision, and certification of the
SWPPP, the required implementation of additional BMPs, and the required summarization in the
annual report each time in the past five years that quarterly stormwater sampling results were
greater than a benchmark, including such the benchmark excursions during that time that are
listed in Table 1 in Section II.A of this letter.

         These benchmark excursions are based upon information currently available to Columbia
Riverkeeper from Ecology’s publicly available records. Columbia Riverkeeper provides notice
of its intent to sue the Port for failing to comply with all of the Level One Corrective Action
requirements described above each time during the last five years that quarterly stormwater
sampling results were greater than a benchmark.

       B.      Failure to Implement Level Two Corrective Actions.

       Condition S8.C of the Permits requires the Port take specified actions, called “Level Two
Corrective Action,” each time quarterly stormwater sample results exceed any of the benchmark
values described in Conditions S5.A and S5.B for any two quarters in a calendar year. Condition
S8.A of the 2020 Permit requires that the Port implement any Level Two Corrective Action
required by the 2015 Permit.

        As described by Condition S8.C of the Permits, a Level Two Corrective Action requires
the Port: (1) review the SWPPP for the facility and ensure that it fully complies with Condition
S3 of the Permits; (2) make appropriate revisions to the SWPPP to include additional structural
source control BMPs with the goal of achieving the applicable benchmark value(s) in future
discharges and sign and certify the revised SWPPP in accordance with Condition S3 of the
Permits; and (3) summarize the Level Two Corrective Action (planned or taken) in the Annual
Report required under Condition S9.B of the Permits. Condition S8.C.4 of the Permits requires
that the Port implement the revised SWPPP according to condition S3 of the Permits and the
applicable stormwater management manual as soon as possible, but no later than August 31 of
the following year.



                                                                                               12
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 34 of 43




        The Permits establish the benchmarks applicable to the Port described in Section VI.A of
this notice of intent to sue letter.

        The Port violated the requirements of the Permits described above by failing to conduct a
Level Two Corrective Action in accordance with permit conditions—including the required
review, revision, and certification of the SWPPP; the required implementation of additional
BMPs to ensure that all points of discharge from the facility meet benchmarks (not just the
sampled point of discharge), including additional structural source control BMPs; and the
required summarization in the annual report—each time since and including 2015 that the Port’s
quarterly stormwater sampling results were greater than a benchmark for any two quarters during
a calendar year. As indicated in Table 1 in Section II.A of this letter, these violations include, but
are not limited to, the Port’s failure to fulfill these obligations triggered by the exceedances in
2018 for total copper.

        The benchmark excursions identified in Table 1 of this letter are based upon information
currently available to Columbia Riverkeeper and from Ecology’s publicly available records.
Columbia Riverkeeper provides notice of its intent to sue the Port for failing to comply with all
of the Level Two Corrective Action requirements each and every time quarterly stormwater
sample results exceeded an applicable benchmark value for any two quarters during a calendar
year, including any such excursions that are not reflected in Table 1 above, since and including
2014.

        Condition S8.C.4.e of the Permits states, “For the year following the calendar year the
Permittee triggered a Level 2 Corrective Action, benchmark exceedances (for the same
parameter) do not count towards additional Level 2 or 3 Corrective Actions.” These Conditions
do not waive the Port’s duty to complete any Level Two Corrective Actions because the Port
failed to develop and implement previously triggered Level Two Corrective Actions pursuant to
Condition S8.C of the Permits.

       C.      Failure to Implement Level Three Corrective Actions and to Comply with
               Ecology Orders Related Thereto.

               1.      Level Three Corrective Actions Triggered Under the 2015 Permit.

        Condition S8.D of the Permits requires the Port take specified actions, called a “Level
Three Corrective Action,” each time quarterly stormwater sample results exceed an applicable
benchmark value for any three quarters during a calendar year. Condition S8.A of the 2020
Permit requires that the Port implement any Level Three Corrective Action required by the 2015
Permit.

       As described by Condition S8.D of the Permits, a Level Three Corrective Action requires
the Port to: (1) review the SWPPP for the facility and ensure that it fully complies with
Condition S3 of the Permits; (2) make appropriate revisions to the SWPPP to include additional
treatment BMPs with the goal of achieving the applicable benchmark value(s) in future
discharges and additional operational and/or structural source control BMPs if necessary for
proper function and maintenance of treatment BMPs; and (3) summarize the Level Three



                                                                                                   13
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 35 of 43




Corrective Action (planned or taken) in the Annual Report required under Condition S9.B of the
2015 Permit and Condition S9.C of the 2020 Permit, including information on how monitoring,
assessment, or evaluation information was (or will be) used to determine whether existing
treatment BMPs will be modified/enhanced, or if new/additional treatment BMPs will be
installed.

        Condition S8.D.2 of the Permits requires that a Qualified Industrial Stormwater
Professional review the revised SWPPP, sign the SWPPP Certification Form, and certify that it is
reasonably expected to meet the ISGP benchmarks upon implementation. Additionally,
Condition S8.D.3 of the Permits requires that, before installing any BMPs that require the site-
specific design or sizing of structures, equipment, or processes to collect, convey, treat, reclaim,
or dispose of industrial stormwater, the Port submit an engineering report, certified by a licensed
professional engineer, to Ecology for review. The report must contain: (1) a brief summary of the
treatment alternatives considered and why the proposed option was selected, including cost
estimates of ongoing operation and maintenance and disposal of any spent media; (2) the basic
design data, including characterization of stormwater influent and sizing calculations for the
treatment units; (3) a description of the treatment process and operation, including a flow
diagram; (4) the amount and kind of chemicals used in the treatment process, if any; (5) the
expected results from the treatment process including the predicted stormwater discharge
characteristics; and (6) a statement, expressing sound engineering justification—through the use
of pilot plant data, results from similar installations, and/or scientific evidence—that the
proposed treatment is reasonably expected to meet the permit benchmarks. The engineering
report must be submitted no later than the May 15 prior to the Level Three Corrective Action
Deadline. Condition S8.D.3.c of the Permits requires that an operations and maintenance manual
be submitted to Ecology at least 30 days after construction/installation is complete.

      Condition S8.D.5 of the Permits requires that the Port fully implement the revised
SWPPP according to Condition S3 of the Permits and the applicable stormwater management
manual as soon as possible, but no later than September 30 of the following year.

        The Permits establish the benchmarks applicable to the Port described in Section V.A of
this notice of intent to sue letter.

         The Port violated the requirements of the Permits described above by failing to conduct a
Level Three Corrective Action in accordance with applicable permit conditions—including the
required review, revision and certification of the SWPPP, including the requirement to have a
specified professional design and stamp the portion of the SWPPP pertaining to treatment; the
required implementation of additional BMPs, including additional treatment BMPs to ensure that
all points of discharge from the facility meet benchmarks (not just the sampled point of
discharge); the required submission of an engineering report, plans, specifications, and an
operations and maintenance plan; and the required summarization in the annual report—each
time since and including 2015 that the Port’s quarterly stormwater sampling results were greater
than a benchmark for any three quarters during a calendar year. As indicated in Table 1 in
Section II.A of this letter, these violations include, but are not limited to, the Port’s failure to
fulfill these obligations triggered by exceedances of the benchmark for total copper in 2015,
2016, 2017, and 2019.



                                                                                                 14
         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 36 of 43




       The benchmark excursions identified in Table 1 are based upon information currently
available to Columbia Riverkeeper from Ecology’s publicly available records. Columbia
Riverkeeper provides notice of its intent to sue the Port for failing to comply with all of the Level
Three Corrective Action requirements each and every time quarterly stormwater sample results
exceeded an applicable benchmark value for any three quarters during a calendar year, including
any such excursions that are not discussed herein, since and including 2015.

       Condition S8.D.5.e of the Permits state, “For the year following the calendar year the
Permittee triggered a Level 3 Corrective Action, benchmark exceedances (for the same
parameter) do not count towards additional Level 2 or 3 Corrective Actions.”). Similarly,
Condition S8.D.5.d of the Permits states: “While a time extension is in effect, benchmark
exceedances (for the same parameter) do not count towards additional Level 2 or 3 Corrective
Actions. These Conditions do not waive the Port’s duty to complete any Level Three Corrective
Actions because the Port failed to develop and implement previously triggered Level Three
Corrective Actions pursuant to Condition S8.D of the Permits and failed to comply with
Ecology’s administrative orders granting time extensions.

               2.      Level Three Corrective Actions Triggered in 2010 and Ecology’s
                       Administrative Orders Related Thereto.

       Prior to the 2015, the Port was covered by the ISGP issued by Ecology on October 21,
2009, effective on January 1, 2010, modified on May 16 and July 1, 2012, and that expired on
January 1, 2015 under the same permit number—WAR000424 (the “2010 Permit”). Condition
S8.D of the 2010 Permit included Level Three Corrective Action requirements that are
substantially similar to those contained in the 2015 and 2020 Permits. Further Condition S8.A of
the 2015 Permit requires that the Port implement any Level Three Corrective Action required by
the 2010 Permit and Condition S8.A of the 2020 Permit requires that the Port implement any
Level Three Corrective Action required by the 2015 Permit. The Port triggered Level Three
Corrective Actions under the 2010 Permit for total zinc and total copper with stormwater
monitoring conducted in 2010, requiring the implementation of Level Three Corrective Actions
by September 30, 2011.

        In response to a request by the Port, Ecology issued an order dated September 27, 2011,
Order No. 8719, extending the deadline for these Level Three Corrective Actions until
September 30, 2014. Order 8719 required: (1) the Port advise Ecology on the status of
complying with the Level Three Corrective Actions in annual reports submitted under Permit
Condition S9.B; (2) the Port submit an engineering report that meets the requirements of WAC
173-240-130 for Ecology’s review and approval on or before September 30, 2013, and (3) the
Port install, and have operational, a stormwater treatment system that is designed with the goal of
achieving the applicable benchmark values as soon as practicable, but no later than September
30, 2014.

        On July 3, 2013, the Port requested that Ecology extend the deadlines for the engineering
report and for implementation of the stormwater treatment system each by one year, to
September 30, 2014 and September 30, 2015, respectively. Ecology issued an order dated
September 20, 2013, Amended Order No. 10260, amending Order No. 8719, extending the



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         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 37 of 43




deadline for the engineering report by six months but not extending the deadline for
implementation of the stormwater treatment system. Amended Order 10260 required that the
Port submit an engineering report to Ecology for review and approval by March 31, 2014 that
includes: (1) a brief summary of the treatment alternatives considered and why the proposed
options was selected; (2) the basic design data and sizing calculations of the treatment units; (3) a
description of the treatment process and operation, including a flow diagram; (4) the amount and
kind of chemicals used in the treatment process, if any; (5) the results to be expected from the
treatment process, including the predicted stormwater discharge characteristics, (6) a statement
expressing sound engineering justification through the use of pilot plant data, results from similar
installations, and/or scientific evidence that the proposed treatment is reasonably expected to
meet the permit benchmarks; (7) an operations and maintenance manual; and (8) a certification
by a licensed professional engineer. No other requirements of Ecology Order No. 8719 were
amended.

         The Port submitted an engineering report to Ecology dated February 19, 2014 proposing
retrofits to the Terminal 4 Pond, including Floating Treatment Wetlands. The engineering report
did not meet the requirements of Ecology Order 8719 and Ecology Amended Order No. 10260
identified above. Ecology issued a review of the engineering report dated April 29, 2014, in
which it declined to approve the report because, inter alia, the report failed to demonstrate that
the proposed measures would achieve benchmarks. The Port subsequently requested that the
engineering report be withdrawn.

        On August 4, 2014, the Port requested that Ecology further extend the Level Three
Corrective Action deadline by an additional three years—to September 30, 2017. Ecology issued
an order dated August 27, 2014, Amended Order No. 10920, amending Ecology Amended Order
No. 10260 and Ecology Order No. 8719, extending the Level Three Correction Action deadline.
Amended Order No. 10920 required: (1) installation of Tideflex valve, hydrodynamic separators,
and additional cells in the Terminal 4 retention pond by September 30, 2014; (2) upgrades to the
bulk copper concentrate offloading facility by September 30, 2017, that include enclosing the
bulk offloading point and conveyors inside a negative pressure structure with air handling
equipment and baghouses to control dust emissions; and (3) continuation of ongoing evaluation
and pilot testing of floating treatment wetlands, installation of downspout filters jet cleaning of
stormwater conveyance systems, increased sweeping frequency, and completion of Level Three
treatment BMP installation to meet permit benchmark concentrations by September 30, 2017. No
other requirements of Ecology Order 8719 and Ecology Amended Order No. 10260 were
amended.

        The Port has violated the requirements described above, including Condition S8.D of the
2010 Permit, Condition S8.A of the 2015 Permit, Condition S8.A of the 2020 Permit, Ecology
Order 8719, Ecology Amended Order 10260, and Ecology Amended Order No. 10920, by failing
to fully implement Level Three Corrective Actions for total copper and total zinc as required,
including the required engineering report; the required operations and maintenance manual; the
required review, revision and certification of the SWPPP, including the requirement to have a
specified professional design and stamp the portion of the SWPPP pertaining to treatment; the
required implementation of additional BMPs, including additional treatment BMPs to ensure that




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         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 38 of 43




all points of discharge from the facility meet benchmarks (not just the sampled point of
discharge); and the required summarization in the annual report.

VII.   VIOLATIONS OF THE RECORDKEEPING REQUIREMENTS.

       A.      Failure to Record Information.

        Condition S4.B.3 of the 2015 Permit and Condition S4.B.4 of the 2020 Permit require the
Port to record and retain specified information for each stormwater sample taken, including the
sample date and time, a notation describing if the Port collected the sample within the first 12
hours of stormwater discharge event, an explanation of why the Port could not collect a sample
within the first 12 hours of a stormwater discharge event, the sample location, method of
sampling and preservation, and the individual performing the sampling. Condition S4.B.3 of the
2015 Permit also requires the Port to record weather conditions. Upon information and belief, the
Port violated and violates these conditions because it failed to record each of these specified
items for each sample taken during the last five years.

       B.      Failure to Retain Records.

         Condition S9.C of the 2015 Permit and Condition S9.D of the 2020 Permit require the
Port to retain, for a minimum of five years, a copy of the Permits, a copy of the Port’s coverage
letter, records of all sampling information, inspection reports including required documentation,
any other documentation of compliance with permit requirements, all equipment calibration
records, all BMP maintenance records, all original recordings for continuous sampling
instrumentation, copies of all laboratory results, copies of all required reports, and records of all
data used to complete the application for the Permits. Upon information and belief, the Port is in
violation of these conditions because it has failed to retain records of such information, reports,
and other documentation during the last five years.

VIII. FAILURE TO REPORT PERMIT VIOLATIONS.

         Condition S9.E of the 2015 Permit and Condition S9.F of the 2020 Permit require the
Port to take certain actions in the event the Port is unable to comply with any of the terms and
conditions of the Permit which may endanger human health or the environment, or exceed any
numeric effluent limitation in the permit. In such circumstances, the Port must immediately take
action to minimize potential pollution or otherwise stop the noncompliance and correct the
problem, and the Port must immediately notify the appropriate Ecology regional office of the
failure to comply. The Port must then submit a detailed written report to Ecology, including
specified details, within 5 days of the time the Port became aware of the circumstances unless
Ecology requests an earlier submission.

        The Port has repeatedly violated these requirements, including each and every time the
Port failed to comply with the corrective action requirements described in Section VI of this
notice of intent to sue, each and every time an unpermitted and illicit discharge occurred, and
every time the Port discharged stormwater with concentrations of pollutants that are likely to




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         Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 39 of 43




cause or contribute to violations of water quality standards as described herein. All these
violations may endanger human health or the environment.

IX.    REQUEST FOR SWPPP.

        Pursuant to Condition S9.G of the 2020 Permit, Columbia Riverkeeper hereby requests
that the Port provide Columbia Riverkeeper a copy of, or access to, the Port’s SWPPP complete
with all incorporated plans, monitoring reports, checklists, and training and inspection logs. The
copy of the SWPPP and any other communications about this request should be directed to Brian
Knutsen at the address below.

       Should the Port fail to provide the requested complete copy of, or access to, its SWPPP as
required by Condition S9.G of the 2020 Permit, the Port will be in violation of that condition,
which violation shall also be subject to this Notice of Intent to Sue and any resulting lawsuit.

X.     PARTY GIVING NOTICE OF INTENT TO SUE.

       The full name, address, and telephone number of the party giving notice is:

       Columbia Riverkeeper
       407 Portway Ave, Suite 301
       Hood River, OR 97031
       (541) 399-5312

XI.    ATTORNEYS REPRESENTING COLUMBIA RIVERKEEPER.

       The attorneys representing Columbia Riverkeeper in this matter are:

 Simone Anter, Staff Attorney                      Brian A. Knutsen
 Columbia Riverkeeper                              Kampmeier & Knutsen, PLLC
 407 Portway Ave, Suite 301                        1300 S.E. Stark Street, Suite 202
 Hood River, OR 97031                              Portland, Oregon 97214
 (541) 399-5312                                    (503) 841-6515
 simone@columbiariverkeeper.org                    brian@kampmeierknutsen.com

XII.   CONCLUSION.

       The above-described violations reflect those indicated by the information currently
available to Columbia Riverkeeper based on its review of the public record. These violations are
ongoing. Columbia Riverkeeper intends to sue for all violations, including those yet to be
uncovered and those committed after the date of this Notice of Intent to Sue.

        Under Section 309(d) of the CWA, 33 U.S.C § 1319(d), the Port is subject to a separate
daily penalty assessment for each violation. The maximum daily penalty assessment for
violations occurring after November 2, 2015 is $55,800; the maximum daily penalty assessment
for violations occurring on and before November 2, 2015 is $37,500. 40 C.F.R. § 19.4. In



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Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 40 of 43
Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 41 of 43
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                                                                                                                                                                                                                                       COLUMBIA RIVER                                                                                                                                                                                                                                                                                                                                                        
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        Ponds                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          
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                                                                                                                                                                                                                                                                                                                                                                                                                            (also City and                                                   to Sanitary
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        Infiltration Area                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                            Pump & Treat                                              Pacific Coast Shredding
        Port ISGP                                                                                                                                                                                                                                                                                                                                                                                                               Comingle)                                                                          B1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Metal Shred Facility
        Tenant ISGP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  All inlets on berth paved over,
        No Exposure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Case 3:21-cv-05486-BHS Document 1 Filed 07/07/21 Page 43 of 43




                                                                                                                                                                                                                                                                                                                                                                                                                                                                               surface runoff captured, treated, and
        Stormwater Drainage Basin
                                                                                                                     Location Key                                                                                                                                                                                                                                                                                                                                                 discharged to sanitary sewer.
        Sanitary Sewer Drainage Basin                                                                                                                                                                                                                                                                                                                                                                                                                                                                                United Grain
All data shown on this map is approximate and should not
be relied upon for planning or design at the Port of Vancouver.
This map covers the core of the port's active operating area.                                                                                                                                                 Port of Vancouver
Terminal 1 and other parcels are not mapped.

Background imagery Google Earth, 16 July 2018                                                                                                                                                 Industrial Stormwater General Permit WAR000424                                                                                                                                                                            0               250           500                                          1,000                                                       1,500
                                                                                                                                                                                                                January 2019                                                                                                                                                                                                                                                                                                                                        Feet (NTS)
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